                           EXHIBIT 5




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              UNITED STATES of AMERICA
                                    vs
METHODIST LE BONHEUR HEALTHCARE, et al.




                      DAVID STERN, M.D.
                        September 26, 2022




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·1   valuation.                                              ·1   compensation, did you have concerns about the
·2   BY MR. ROARK:                                           ·2   compensation that was being paid to any other UT
·3   Q.· · ·And what -- what was the purpose of getting      ·3   physicians?
·4   the fair market valuation?                              ·4   A.· · ·So it depends what you mean by "UT
·5   A.· · ·The purpose was --                               ·5   physicians," because the West Clinic considered
·6   · · · · · · MR. VROON:· Object -- let me just object    ·6   themselves, when they had the inclination, to be
·7   to form.                                                ·7   University of Tennessee physicians.· I had no role
·8   · · · · · · THE WITNESS:· The purpose was I             ·8   in their compensation whatsoever.
·9   wanted -- again, I was a State -- my paycheck said      ·9   · · · ·There were other situations like that as well
10    on it the "State of Tennessee," and I was their        10    where they really weren't under my auspices, and
11    representative.· So I wanted to be sure that what I    11    that would be a neurosurgical practice.· And the
12    was paying was within the bounds of what was           12    neurosurgical practice, called Semmes Murphey, I
13    considered appropriate for those positions.· I paid    13    wasn't involved in setting their compensation, and I
14    very large salaries, and I wanted to be certain that   14    wasn't aware of their compensation.
15    those salaries were still within range.                15    Q.· · ·And I appreciate you saying that.
16    BY MR. ROARK:                                          16    · · · ·So to try to make my question specific, then,
17    Q.· · ·If you paid within the bounds of what was       17    for the physicians where you are involved in setting
18    considered appropriate, did that mean that the --      18    the compensation, so for UTMP, for example, did you
19    the compensation complied with applicable laws, from   19    have any concerns about the amount of compensation
20    your standpoint?                                       20    that was being paid to any UTMP doctors?
21    · · · · · · MR. VROON:· Object to form.                21    A.· · ·Only to Eason that was a part of that.· I was
22    · · · · · · THE WITNESS:· As far as I was informed     22    not concerned about other doctors.
23    by the counsel I worked with, because I'm not a        23    · · · ·And I should say, to my recollection.· You
24    lawyer, that was always one of the important           24    know, there were 80 or 90 doctors in these things,
25    considerations.                                        25    and I really don't recall -- I recall maybe the


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·1   BY MR. ROARK:                                           ·1   outliers now, but I don't recall the details.
·2   Q.· · ·All right.· So for -- and to be specific,        ·2   Q.· · ·In addition to serving as executive dean, at
·3   while you were at University of Tennessee, was the      ·3   some point while you were in Methodist, did you also
·4   main health system partner Methodist?                   ·4   take on a role with Methodist?
·5   A.· · ·Yes, it was.                                     ·5   A.· · ·Yes, I did.
·6   Q.· · ·And so for the comments that you made earlier    ·6   Q.· · ·And what was that role?
·7   that the health system would be involved in setting     ·7   A.· · ·The title of the role was executive vice
·8   the compensation for the -- the UT physicians, that     ·8   president of medical affairs.
·9   would mean that Methodist would be involved in          ·9   Q.· · ·Is that set forth at the top of the second
10    setting compensation for physicians who worked in      10    page of your CV?
11    UTMP, ULPS, or UTMG?                                   11    A.· · ·Yes, it is.
12    A.· · ·No.· Methodist was involved in setting the      12    Q.· · ·And that's a role that you held from 2012
13    clinical component of the compensation in ULPS and     13    through 2016, correct?
14    UTMP.· University Clinical Health was the              14    A.· · ·No.· That's a title that I held during that
15    independent practice plan.· It was the -- it's what    15    period.
16    succeeded UTMG.· That was the plan that I was          16    Q.· · ·That's a -- were you in the position of
17    chairman of the board and ran independently, so that   17    executive vice president of medical affairs at
18    was separate.· And UTROP was the -- Regional One       18    Methodist from 2012 through 2016?
19    Health had the major say in.                           19    A.· · ·Yes, I was.
20    Q.· · ·Regional One Health is a different health       20    Q.· · ·Okay.· How did that role come about?
21    system in Memphis?                                     21    A.· · ·That role was a result of the affiliation
22    A.· · ·Yes, it is.                                     22    agreement between the University, but that role was
23    Q.· · ·Okay.· For -- during the time that you were     23    exceedingly problematic.· My job description was
24    executive dean at the University of Tennessee, other   24    never clarified.· I wrote it, and Methodist would
25    than Dr. Eason and the comments you made about his     25    never agree to a job description.· So I had the



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·1   effect that Methodist was buying referrals?             ·1   A.· · ·Correct.
·2   A.· · ·That started in 2011 when I first heard the      ·2   Q.· · ·When did Erich Mounce and Dr. Schwartzberg
·3   deal.· So when I was absolutely first hired -- would    ·3   ask you to do that?
·4   have been around April 2011 -- it was presented to      ·4   A.· · ·I don't know the date but --
·5   me, as the new dean, and my two key superiors were      ·5   Q.· · ·What was the setting?
·6   Shorb and Schwab, that they had the most wonderful      ·6   A.· · ·Oh, there were many settings.· I had
·7   Cancer Center opportunity, and that opportunity was     ·7   individual meetings with them.· Could have been
·8   made possible by the ability to be able to buy the      ·8   before.· I don't know the setting.
·9   referrals of Methodist and to use 340B profits to       ·9   Q.· · ·I'm asking specifically about the comment
10    make it so that they could afford to sustain a         10    that you referred to that Erich Mounce and
11    Cancer Center, which would be done by dividing the     11    Dr. Schwartzberg asked you to go have a conversation
12    340B profits among the University, the physicians of   12    with Dr. Sandeep.· Was that during a meeting that
13    the West Clinic, and of Methodist.                     13    you had with Erich Mounce and Dr. Schwartzberg?
14    Q.· · ·From your standpoint, how did Methodist buy     14    A.· · ·Yes, it was.
15    referrals from West?                                   15    Q.· · ·Where did that meeting take place?
16    A.· · ·From my standpoint, Chris McLean made very      16    A.· · ·I can't -- I don't recall.
17    clear to me that he expected an increase of            17    Q.· · ·But it was in person?
18    200 million in the Methodist budget as a result of     18    A.· · ·Yes, it was in person.
19    referrals coming in from West, which had gone to       19    Q.· · ·Was it in your office?
20    Baptist and to other places, and part of the West      20    A.· · ·I don't think so.
21    deal was they were incentivized to bring those         21    Q.· · ·And when -- when did this take place?
22    referrals to Methodist, and they were incentivized     22    A.· · ·It took place before Sandeep Samont left.· So
23    because that was part of the compensation scheme.      23    Sandeep Samont felt under pressure and
24    Q.· · ·What was the compensation scheme?               24    uncomfortable, and he left and he went to
25    A.· · ·I don't know, but it was highly incentivized    25    Northwestern University.


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·1   towards the West Clinic.· I was never shown the         ·1   Q.· · ·What type of physician was he?
·2   details of it.                                          ·2   A.· · ·He was a head-and-neck cancer surgeon.
·3   Q.· · ·If you don't know what the compensation          ·3   Q.· · ·Had you recruited him?
·4   scheme was, then how do you know it was incentivized    ·4   A.· · ·No.· But I'd become a very strong advocate
·5   towards Methodist?                                      ·5   for him because head-and-neck cancer was important
·6   A.· · ·I know because the docs made clear that -- to    ·6   in the underserved population, and he was a very
·7   me, that bringing referrals there -- and let me give    ·7   effective clinician and wanted to grow the
·8   you an example.· There was a physician, Sandeep         ·8   enterprise, an academic enterprise, around him.
·9   Samont, that was a head-and-neck surgeon that           ·9   Q.· · ·Was it important to you to be able to provide
10    divided his head-and-neck referrals between Baptist    10    services to the underserved population?
11    and Methodist.· Erich Mounce and Lee Schwartzberg      11    A.· · ·Very important to me.
12    specifically said, Send all the referrals to           12    Q.· · ·Is that something that was accomplished
13    Methodist.· This advantages how we do our PSA, and     13    through the Methodist-West affiliation?
14    this is part of the Cancer Center for -- these are     14    A.· · ·From my perspective, not to the extent that
15    referrals that are brought to us.                      15    it could have been.
16    Q.· · ·When did Erich Mounce and Lee Schwartzberg      16    Q.· · ·But it was accomplished to some extent?
17    say to Dr. Sandeep, Send all these referrals to        17    · · · · · · MR. VROON:· Object to form.
18    Methodist?                                             18    · · · · · · THE WITNESS:· I don't know exactly the
19    A.· · ·I don't know they said it to Sandeep, but       19    numbers, so I can't comment on what actually
20    they might have because he felt under pressure.        20    happened.· But I'm aware that there was not an
21    They definitely said it to me and asked me to          21    emphasis on what was happening downtown.· Downtown
22    communicate it to him.                                 22    where I worked with Methodist University Hospital,
23    Q.· · ·Dr. Schwartzberg and Erich Mounce asked you     23    that was a focal point for treating uninsured
24    to communicate to Dr. Sandeep that he should bring     24    patients, as was North and -- Methodist North and
25    cases to Methodist?                                    25    South, but I didn't know as much about those



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·1   Breen --                                                ·1   compensation.· I was told about it because those
·2   A.· · ·Yes.                                             ·2   involved, including Gary Shorb, thought it was two
·3   Q.· · ·-- in 2011 where Bill said to you that the       ·3   standard deviations off.
·4   fair market range had come back about $500,000 too      ·4   Q.· · ·What was -- could you explain what you mean
·5   short.                                                  ·5   by that?
·6   A.· · ·Right, for -- and it was a -- Bill Breen said    ·6   A.· · ·It was very high.· They were being paid a lot
·7   it, but it was in some meeting setting.· It was not     ·7   of money.· And they wanted these referrals, and they
·8   a private setting.                                      ·8   could support it because of the -- the increased
·9   Q.· · ·Do you know one way or the other whether         ·9   revenue from the referrals and the 340B.· But it was
10    anything was done to make up for the $500,000          10    an unconscionable sum of money, is the impression
11    difference from what the fair market value opinion     11    they gave me.
12    had been expected to be?                               12    Q.· · ·That was the impression that --
13    A.· · ·I know that when Bill Breen said that, others   13    A.· · ·Shorb gave me.
14    at the meeting said they would find a way to be able   14    Q.· · ·And what did Gary Shorb say about that?
15    to make that up.                                       15    A.· · ·He felt that the 3 million to each, to
16    Q.· · ·And, Dr. Stern, do you know if there was        16    Schwartzberg and to Tauer, and the fact that the
17    anything that was done to make that up?                17    West Clinic partners all earned in excess of
18    A.· · ·I don't know.· I was not --                     18    1 million -- between 1 1/2 and 2 1/2 million -- that
19    Q.· · ·Okay.                                           19    that was really too much money for folks to make,
20    A.· · ·-- a part of the financial discussion.          20    that really should not be something that was born.
21    Q.· · ·All right.· And then you said that -- you       21    But that was the deal, and they wanted the deal to
22    said they talked about getting fair market value       22    go.
23    opinions and going to different firms.                 23    · · · ·And it was said to me a few times, as with
24    · · · ·Who are you talking about making that           24    the investment in Vector, it was the cost of doing
25    comment?                                               25    business with West.


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·1   A.· · ·Gary Shorb and Chris McLean.                     ·1   Q.· · ·Was the -- from your understanding, was the
·2   Q.· · ·What was the setting for this?                   ·2   compensation to West at a guaranteed amount per
·3   A.· · ·The setting was, We don't know how we're         ·3   year, or was it tied to how much work the physicians
·4   going to be able to find fair market value for the      ·4   did?
·5   level of salary that we're paying to West going         ·5   · · · · · · MR. VROON:· Object to form.
·6   forward.                                                ·6   · · · · · · THE WITNESS:· I didn't know the details,
·7   Q.· · ·I'm sorry.· By "setting," where did this         ·7   but I know that the West Clinic docs told me that
·8   conversation take place?                                ·8   they were guaranteed an income at the
·9   A.· · ·Gary Shorb's office.                             ·9   90th percentile or greater, but I didn't know the
10    Q.· · ·And who was present for this?                   10    parameters.· I was never shown that PSA or the
11    A.· · ·I just remember Chris McLean, Gary, and         11    management services agreement.
12    myself, but there could have been other people         12    BY MR. ROARK:
13    there.                                                 13    Q.· · ·Okay.· Did you provide any input or feedback
14    Q.· · ·Do you -- for the arrangements that were put    14    on which fair market value firms were selected?
15    in place between Methodist and West, did you have      15    A.· · ·No.· That's not my expertise.
16    any involvement in getting the fair market value       16    Q.· · ·The original management services agreement
17    opinions?                                              17    between Methodist and West was valued by Healthcare
18    A.· · ·I did not.                                      18    Appraisers.
19    Q.· · ·Did you provide any data or underlying          19    · · · ·Are you familiar with Healthcare Appraisers?
20    financial information as part of those fair market     20    A.· · ·I'm not -- no, I am not.
21    value opinions?                                        21    Q.· · ·Okay.· And the MSA was subsequently valued by
22    A.· · ·No, I did not.                                  22    Altegra Consulting and then Pinnacle Consulting.
23    Q.· · ·Did you receive drafts or get to provide any    23    · · · ·Are you familiar with either one of them?
24    input on the fair market value opinions?               24    A.· · ·No, I am not.
25    A.· · ·I was not shown anything related to their       25    Q.· · ·Okay.· I had asked you earlier about --



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·1   the dinner meetings with Sidney Vanderline or           ·1   also become part owner in ACORN or Vector?
·2   whatever, they eventually put me out because I said     ·2   A.· · ·Yes.· So --
·3   to them, I don't want to be part of the captive PC      ·3   Q.· · ·And, Dr. Stern --
·4   where the West Clinic is going to control the           ·4   A.· · ·I'm sorry.
·5   University physicians; their income is not going to     ·5   Q.· · ·-- right now it was just, did they become an
·6   be revealed.· We're basically working for a             ·6   owner.
·7   for-profit, and there's -- the vision for a cancer      ·7   · · · ·The entity was at one point known as ACORN?
·8   center, of me hiring national figures, is not -- is     ·8   A.· · ·Right.
·9   not taking place.                                       ·9   Q.· · ·And then is it correct that the name changed
10    · · · ·It's -- the visions weren't constant.· And my   10    to Vector?
11    way of thinking that what we submitted to the UT       11    A.· · ·Yes, that's correct.
12    trustees was truthful at the time, but that's not      12    Q.· · ·If I use "Vector" during our conversation,
13    how it was implemented.                                13    does that make sense to you?
14    Q.· · ·Okay.                                           14    A.· · ·Yes.
15    A.· · ·It didn't get implemented that way.             15    Q.· · ·Okay.· At some point, were you asked to serve
16    Q.· · ·But it was truthful at the time you made the    16    on the Vector board?
17    recommendation to the --                               17    A.· · ·Yes.
18    A.· · ·The -- the --                                   18    Q.· · ·Before being asked to serve on the board, did
19    Q.· · ·Dr. Stern --                                    19    you participate in any of the negotiations between
20    A.· · ·Yes.                                            20    Methodist and West about the Vector investment?
21    Q.· · ·-- let me finish my question.                   21    A.· · ·No.· I'd never heard of Vector.
22    · · · ·It was truthful at the time that you            22    Q.· · ·Were you involved -- did you have any
23    recommended it to them?                                23    involvement in the fair market value opinion that
24    A.· · ·It was truthful that I wanted to form a         24    was obtained relating to the Vector transaction?
25    cancer center, and that was the document you           25    A.· · ·No, I did not.

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·1   presented to me that must have been -- I must have      ·1   Q.· · ·At any point did -- separate from West Cancer
·2   presented.· I wouldn't have presented something that    ·2   Center, at any point did Vector start working with
·3   I thought was untrue.                                   ·3   the University of Tennessee?
·4   Q.· · ·Of course not.                                   ·4   A.· · ·My understanding is, in small ways, there was
·5   · · · ·At what point during the affiliation did you     ·5   some small projects, but not a big deal.
·6   start to have concerns that the underlying              ·6   Q.· · ·Were you involved in those projects?
·7   arrangements were not legal?                            ·7   A.· · ·No, I was not.
·8   A.· · ·Like --                                          ·8   Q.· · ·Okay.· At some point during the time that you
·9   · · · · · · MR. VROON:· Object to the form.             ·9   were serving on the Vector board, did you start
10    · · · · · · THE WITNESS:· Let me just silence this     10    having concerns about the Vector business?
11    once and for all.· I'm not going to be able to pick    11    A.· · ·Yes, very strong concerns.
12    something up in -- in Asheville.                       12    Q.· · ·When did you begin to develop those concerns?
13    · · · · · · I began to have misgivings about it from   13    A.· · ·I guess it was probably a year to two into
14    when I first heard about it in April of 2011, but it   14    it.
15    wasn't until 2012 to 2013 when I became more aware     15    Q.· · ·Initially, when you first started serving on
16    from more people because, as I said, I did not see     16    the board, did you believe that it sounded like a
17    the actual MSA or PSA.· So what I knew is what I       17    legitimate, promising business?
18    heard about it from the -- Kurt Tauer, Lee             18    A.· · ·It -- it sounded to me that there was nothing
19    Schwartzberg, Chris McLean, Gary Shorb, Erich          19    wrong with the vision for it, and I knew that this
20    Mounce.                                                20    was something that Lee Schwartzberg, who fancied
21    BY MR. ROARK:                                          21    himself to be an investigator, this was something
22    Q.· · ·The conversations that you've referenced        22    that was important to him.· So I thought maybe this
23    earlier today?                                         23    was something that would be of value.
24    A.· · ·Yes.                                            24    · · · · · · (WHEREUPON, a document was marked as
25    Q.· · ·As part of the transaction, did Methodist       25    Exhibit Number 237.)



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·1   · · · · · · So the actual -- their actual               ·1   whatsoever locally or nationally.
·2   involvement, it made sense for a CRO, but only if       ·2   · · · · · · The -- they had another project, which
·3   they could -- if Lee Schwartzberg could bring unique    ·3   was patient-reported outcomes data that was based on
·4   clinical trials that were special and they could go     ·4   a woman that was a faculty member at Duke, and they
·5   into a clinic that was a research-organized clinic      ·5   were hoping to sell the whole company to Flat Iron.
·6   that was a machine for really recruiting people.        ·6   Well, she just jumped to Flat Iron and took, you
·7   · · · · · · The other thing to be mentioned is these    ·7   know, the project with her, and they had no
·8   are very low-level clinical trials.· They're            ·8   intellectual property.· So on their important
·9   multisite, industrial clinical trials.· Again, by       ·9   project, they had no intellectual property.
10    example, with Vanderbilt, these wouldn't count for a   10    · · · · · · On the CRO project, they had no angle.
11    Vanderbilt faculty member.· These are not              11    The idea you're going to build a big clinical trial
12    investigator-initiated.                                12    infrastructure with UT that had almost no clinical
13    · · · · · · So it turned out that they were in a       13    trials, that wasn't going to work.· So as I looked
14    very tricky part of the market, and they were trying   14    into this, it didn't work.· And I said to Chris
15    every approach to move it forward.                     15    McLean, who was on the board with me, I said, Now
16    · · · · · · The international flavor was fine, but     16    that I've seen this, what were you guys thinking?
17    it turned out that Lee Schwartzberg had no leverage    17    And he said it was a cost of doing business with the
18    with any of these people, and nothing that Chukas      18    West Clinic.
19    presented ever really happened.· But I believed -- I   19    BY MR. ROARK:
20    saw the constriction here of the resources.· And I     20    Q.· · ·Dr. Stern, I can only go by what I read in
21    think I referred to this in the last part of the       21    the emails here.· I guess I'm trying to follow up.
22    paragraph, "I thank you for the opportunities          22    · · · ·I can see how you describe ACORN in writing,
23    involved."· And it says "bigger might be better,"      23    but what you're saying is that at meetings orally
24    but --                                                 24    you described it very differently than how you put
25    · · · · · · MR. VROON:· Slow down, David.· Slow        25    it in this email?


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·1   down.                                                   ·1   A.· · ·Not at meetings.
·2   · · · · · · THE WITNESS:· -- it's a difficult issue     ·2   · · · · · · MR. VROON:· Object to the form.
·3   here.                                                   ·3   · · · · · · THE WITNESS:· I -- very carefully,
·4   · · · · · · So this begins to give you in a careful     ·4   because, again, I needed to work with Lee
·5   way my reservations which were accumulating about       ·5   Schwartzberg in the Cancer Center, so I sent him,
·6   ACORN.                                                  ·6   which I'm sure you'll show me in a minute, a
·7   BY MR. ROARK:                                           ·7   complimentary email saying, You're dedicated to
·8   Q.· · ·You don't really express those reservations      ·8   this; I appreciate it.
·9   in this email, do you, because -- let me finish my      ·9   · · · · · · But they couldn't deliver it, and I said
10    question, please.                                      10    to Gary, Why have you invested in this?· Doesn't
11    A.· · ·Uhm-uhm.                                        11    mean it's bad.· It's a premature investment.· It's
12    Q.· · ·You don't really express those reservations     12    not something that I understand.
13    in this email because instead you describe ACORN as    13    · · · · · · And feel free to ask Chris McLean.· He
14    a nimble David among the large and clumsy Goliaths,    14    clearly said this is a cost of doing business with
15    correct?                                               15    the West Clinic.
16    · · · · · · MR. VROON:· Object to the form.            16    BY MR. ROARK:
17    · · · · · · THE WITNESS:· Again, you've taken out      17    Q.· · ·My question, Dr. Stern, is just why would you
18    one sentence.· But what I see is I see it's a          18    represent your views of ACORN differently in writing
19    balanced letter.· And what you also can appreciate     19    versus what you're now saying you said on the
20    is that I note some of the emails you showed me that   20    meetings.
21    I wrote that my wife would beat me for for saying      21    A.· · ·Because it would -- this email --
22    those things I didn't put in this letter.              22    · · · · · · MR. VROON:· Give me a second.
23    · · · · · · I told Gary specifically at the board      23    · · · · · · Object to the form, Brian.
24    meeting sometime between 2012 and 2013 that this was   24    · · · · · · THE WITNESS:· I'm sorry.
25    a very poor investment.· The CRO had no potential      25    · · · · · · Because Gary would forward this email to


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·1   A.· · ·I'd just as soon not.                              ·1     · · · · · · · · E R R A T A· P A G E
                                                               ·2     · · · · · · · ·I, DAVID STERN, M.D., having read the
·2   · · · ·But, you know, again, he was a young guy and       · ·   ·foregoing deposition, pages 1 through 238, do hereby
·3   it was a complicated, difficult situation, and I          ·3     certify said testimony is a true and accurate
·4   thought it would be safer for him to stay out of          · ·   ·transcript, with the following changes (if any):
·5   corporate for the moment.                                 ·4
                                                               ·5     PAGE·       LINE· · · · · SHOULD HAVE BEEN
·6   Q.· · ·Did you think it was a mistake for him to
                                                               ·6     _____       _____· · · · ·_______________________________
·7   work for Michael Ugwueke?                                 ·7     _____       _____· · · · ·_______________________________
·8   A.· · ·Well, that was corporate.· Going to corporate      ·8     _____       _____· · · · ·_______________________________
·9   was working for Ugwueke.                                  ·9     _____       _____· · · · ·_______________________________
                                                               10     _____       _____· · · · ·_______________________________
10    · · · · · · MR. ROARK:· Let's stop here and go off
                                                               11     _____       _____· · · · ·_______________________________
11    the record.                                              12     _____       _____· · · · ·_______________________________
12    · · · · · · VIDEO TECHNICIAN:· Going off the record      13     _____       _____· · · · ·_______________________________
13    at 3:57 p.m.                                             14     _____       _____· · · · ·_______________________________
                                                               15     _____       _____· · · · ·_______________________________
14    · · · · · · (A recess was taken.)
                                                               16     _____       _____· · · · ·_______________________________
15    · · · · · · VIDEO TECHNICIAN:· We are back on the        17     _____       _____· · · · ·_______________________________
16    record at 4:15 p.m.                                      18     _____       _____· · · · ·_______________________________
17    · · · · · · MR. ROARK:· No further questions from        19
                                                               20     · · · · · · · · · · · · ·__________________________
18    us.
                                                               · ·   ·· · · · · · · · · · · · ·DAVID STERN, M.D.
19    · · · · · · MR. VROON:· Okay.· Thank you, Brian.· No     21
20    questions.                                               22     _______________________________________
21    · · · · · · MR. ROARK:· Thank you, Dr. Stern.            · ·   ·Notary Public
22    · · · · · · VIDEO TECHNICIAN:· The time is 4:15 p.m.     23
                                                               · ·   ·My Commission Expires: ________________
23    We are going off the record.· This will conclude         24
24    today's deposition.                                      · ·   ·Reported by: JULIE K. LYLE, LCR
25                                                             25



                                                    Page 238                                                                Page 240
·1   · · · · · · ·FURTHER DEPONENT SAITH NOT                   ·1     · · · · · · · ·REPORTER'S CERTIFICATE
·2   · · · · (Proceedings concluded at 4:15 p.m.)              ·2
                                                               ·3     STATE OF TENNESSEE
·3
                                                               ·4     COUNTY OF DAVIDSON
·4                                                             ·5
·5                                                             ·6     · · · · · I, JULIE K. LYLE, Licensed Court
                                                               ·7     Reporter, with offices in Hermitage, Tennessee,
·6
                                                               ·8     hereby certify that I reported the foregoing
·7                                                             ·9     deposition of DAVID STERN, M.D., by machine
·8                                                             10     shorthand to the best of my skills and abilities,
                                                               11     and thereafter the same was reduced to typewritten
·9
                                                               12     form by me.· I am not related to any of the parties
10                                                             13     named herein, nor their counsel, and have no
11                                                             14     interest, financial or otherwise, in the outcome of
                                                               15     the proceedings.
12
                                                               16     · · · · · I further certify that in order for this
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18
                                                               20
19                                                             21
20                                                             22
21                                                             · ·   ··   ·   ·   ·_________________________________
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22
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